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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

CHARLES M.BUTLER,III and                Cause No.: CV 17-50-SPW-TJC
CHOLE BUTLER,
                                               ORDER TO RESET MAY 7,
                                          2021 HEARING AND GRANTING
            Plaintiffs,                    LEAVE FOR APPEARANCE BY
                                                 REMOTE MEANS
      vs.




UNIFIED LIFE INSURANCE
COMPANY;HEALTH PLANS
INTERMEDIARIES HOLDINGS,
LLC,D/B/A HEALTH INSURANCE
INNOVATIONS; HEALTH
INSURANCE INNOVATIONS,INC.;
ALLIED NATIONAL,INC.;
NATIONAL BROKERS OF
AMERICA,INC.; THE NATIONAL
CONGRESS OF EMPLOYERS,INC.;
and DOES I-IO,
            Defendants.


     Pursuant to the parties' Stipulation and Joint Motion to Reset May 7, 2021

Hearing(Doc. 394), and for good cause appearing,

     IT IS HEREBY ORDERED that the hearing set for May 7, 2021 at 9:30

a.m. is VACATED and RESET for Friday, May 14, 2021, at 9:30 a.m. in the

Snowy Mountain Courtroom of the James F. Battin U.S. Courthouse, Billings,

Montana.    Joshua Frank, counsel for Unified Life Insurance, and Errol King,

counsel for Multiplan, Inc., are granted leave to appear by remote means. Mr.
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